Case 4:21-cv-00468-MWB    Document 35-11   Filed 09/30/22   Page 1 of 41




                         EXHIBIT J
Case 4:21-cv-00468-MWB  DocumentLexlaura
                     Kimberly    35-11 FiledBunting
                                             09/30/22 Page 2 of 41


 1     IN THE UNITED STATES DISTRICT COURT FOR THE
 2              MIDDLE DISTRICT OF PENNSYLVANIA
 3    RIC SZABO,                       :
             Plaintiff                 :
 4                                     :   Civil Action No.:
                   vs.                 :   21-cv-00468
 5                                     :
      MUNCY INDUSTRIES, LLC            :
 6    D/B/A MUNCY MACHINE &            :
      TOOL CO., INC.,                  :
 7           Defendant                 :
 8                                 - - -
 9                    Wednesday, June 15, 2022
10                                 - - -
11                  Remote oral deposition of KIMBERLY
12    LEXLAURA BUNTING, via Zoom videoconference,
13    conducted at the location of the witness in
14    Jersey Shore, Pennsylvania, taken on the above
15    date, beginning at approximately 3:25 p.m.,
16    before Jessica M. Gericke, RPR, CCR-NJ, and
17    Notary Public in and for Delaware, New Jersey,
18    and Pennsylvania.
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Golkow Litigation Services                                           Page 1
Case 4:21-cv-00468-MWB  DocumentLexlaura
                     Kimberly    35-11 FiledBunting
                                             09/30/22 Page 3 of 41


 1    APPEARANCES VIA ZOOM VIDEO CONFERENCE:
 2       MURPHY LAW GROUP, LLC
         BY: MARY KRAMER, ESQUIRE
 3       1628 John F. Kennedy Boulevard
         Eight Penn Center, Suite 2000
 4       Philadelphia, PA 19103
         267-273-1054
 5       mkramer@phillyemploymentlawyer.com
 6       Counsel for Plaintiff
 7

          STAPP LAW, LLC
 8        BY: GREGORY A. STAPP, ESQUIRE
          153 West Fourth Street
 9        Suite 6
          Williamsport, PA 17701
10        570-326-1077
          gstapp@stapplaw.net
11

          Counsel for Defendant
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13                                 - - -
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Golkow Litigation Services                                           Page 2
Case 4:21-cv-00468-MWB  DocumentLexlaura
                     Kimberly    35-11 FiledBunting
                                             09/30/22 Page 4 of 41


 1                              I N D E X
 2    WITNESS NAME                                              PAGE
 3        Kimberly Lexlaura Bunting
 4                  By Ms. Kramer                               4, 35
 5                  By Mr. Stapp                                28
 6                                 - - -
 7

 8                         E X H I B I T S
 9    NO.              DESCRIPTION                              PAGE
10                  (No exhibits were marked.)
11                                 - - -
12

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Golkow Litigation Services                                           Page 3
Case 4:21-cv-00468-MWB  DocumentLexlaura
                     Kimberly    35-11 FiledBunting
                                             09/30/22 Page 5 of 41


 1                                 - - -
 2                         THE COURT REPORTER:            All
 3           parties to this deposition are appearing
 4           remotely and have agreed to the witness
 5           being sworn in remotely.             Due to the
 6           nature of remote reporting, please pause
 7           briefly before speaking to ensure all
 8           parties are heard completely.
 9                         Counsel, please state your
10           appearance.
11                         MS. KRAMER:        Mary Kramer for
12           the plaintiff, Ric Szabo.
13                         MR. STAPP:        Greg A. Stapp for
14           Muncy Industries.
15                                 - - -
16                         KIMBERLY LEXLAURA BUNTING,
17           after having been first duly sworn, was
18           examined and testified as follows:
19    BY MS. KRAMER:
20         Q.       Good afternoon, Miss Bunting.                My
21    name is Mary Kramer and I am one of the
22    attorneys representing Ric Szabo in the matter
23    he has brought against Muncy Industries.
24                         The reason I have asked you



Golkow Litigation Services                                           Page 4
Case 4:21-cv-00468-MWB  DocumentLexlaura
                     Kimberly    35-11 FiledBunting
                                             09/30/22 Page 6 of 41


 1    here today is just to ask you about what facts
 2    you have personal knowledge of and after I am
 3    finished, Attorney Stapp may have some
 4    follow-up questions and we'll be done here.
 5    Okay?
 6         A.       Okay.
 7         Q.       I would like to go over just a few
 8    instructions with you.
 9                         Have you ever had your
10    deposition taken before?
11         A.       No.    This is my first time.
12         Q.       So with that in mind, I am going to
13    ask you to allow me to finish asking my
14    question before answering and, likewise, I
15    will do my best to allow you to finish
16    answering before I ask you my next question.
17    Okay?
18         A.       Okay.
19         Q.       I will also ask that you keep your
20    responses verbal instead of nodding or shaking
21    your head or saying uh-huh or unh-unh.
22    Because, otherwise, the court reporter will
23    have a difficult time getting everything down.
24    Okay?



Golkow Litigation Services                                           Page 5
Case 4:21-cv-00468-MWB  DocumentLexlaura
                     Kimberly    35-11 FiledBunting
                                             09/30/22 Page 7 of 41


 1         A.       Okay.
 2         Q.       Thank you.       Are you represented by
 3    an attorney today?
 4         A.       No, I am not.
 5         Q.       So if Attorney Stapp has an
 6    objection, I will just ask that you allow us
 7    to resolve the objection, and then go ahead
 8    and answer the question.
 9                         Finally, if at any time you
10    need a break -- I don't think this will take
11    too long -- just let me know, and I will be
12    happy to take a break.            I would just ask that
13    you finish the question before we pause.
14    Okay?
15         A.       Okay.
16         Q.       With that out of the way, could you
17    state your name for the record?
18         A.       Yes.     My name is Kimberly Lexlaura
19    Bunting.
20         Q.       And what is your current mailing
21    address?
22         A.       400 Baer Street, Jersey Shore,
23    Pennsylvania 17740.
24         Q.       And (inaudible)?



Golkow Litigation Services                                           Page 6
Case 4:21-cv-00468-MWB  DocumentLexlaura
                     Kimberly    35-11 FiledBunting
                                             09/30/22 Page 8 of 41


 1         A.       Can you restate that?
 2         Q.       Is there anybody in the room with
 3    you right now?
 4         A.       No, ma'am, there is not.
 5         Q.       Do you have any notes with you?
 6         A.       No, ma'am, I do not.
 7         Q.       Okay.     How did you prepare for
 8    today's deposition?
 9         A.       I looked online to see if I can see
10    kind of what was going on and anything that I
11    could see for public record.               Other than that,
12    I haven't really done anything.                This is my
13    first deposition.          So I haven't -- I don't
14    really know how to prepare.
15         Q.       That's totally understandable.
16                         When you did your online
17    search, were you able to find anything?
18         A.       Yes, I was.
19         Q.       Would you mind just telling us what
20    you reviewed online?
21         A.       Yes.     It wasn't anything that was
22    for Ric Szabo versus Muncy Industries.                    It was
23    for Shandi -- I can't recall her last name --
24    and Ric, it looks like on a prior suit that



Golkow Litigation Services                                           Page 7
Case 4:21-cv-00468-MWB  DocumentLexlaura
                     Kimberly    35-11 FiledBunting
                                             09/30/22 Page 9 of 41


 1    had taken place, nothing that was giving me
 2    any knowledge into this particular suit in
 3    question.
 4         Q.       So it was Shandi and Ric on the same
 5    caption at the top?
 6         A.       Yes.
 7         Q.       Okay.     Did you see a complaint?
 8         A.       It was kind of hard to follow along.
 9    They were just advising that it was some
10    employee discrimination suit that was against
11    Muncy Industries.
12         Q.       Okay.     And I will just put on the
13    record that I believe that you were looking at
14    this case.       It used to have both of them.                 Now
15    it's just Ric, but that works.
16                         Did you speak to anyone today
17    about -- or with anyone about today's
18    deposition?
19         A.       No, I have not.
20         Q.       I don't mean offense by this.
21                         Are you currently taking any
22    drugs or medication that would interfere with
23    your ability to understand my questions or to
24    tell the truth?



Golkow Litigation Services                                           Page 8
Case 4:21-cv-00468-MWBKimberly
                        DocumentLexlaura
                                35-11 FiledBunting
                                           09/30/22 Page 10 of 41


  1         A.      No, ma'am.
  2         Q.      When (inaudible) against Muncy?
  3         A.      Can you restate the question?
  4         Q.      When did you learn about Mr. Szabo's
  5   claims against Muncy?
  6         A.      That I saw online?          Is that what you
  7   mean?
  8         Q.      Were you aware of the -- when you
  9   worked for Muncy, were you aware that he had
10    filed a lawsuit?
11          A.      I was not employed with Muncy at the
12    time that I became -- it was brought to my
13    attention that he had.
14          Q.      Okay.     Have you ever pleaded guilty
15    or no contest to or been convicted of a felony
16    or a misdemeanor?
17          A.      No, ma'am, I have not.
18          Q.      Have you ever been arrested or
19    charged for a crime, regardless of whether or
20    not you were convicted?
21          A.      No, ma'am, I have not.
22          Q.      What is your highest level of
23    education?
24          A.      Master's degree.



Golkow Litigation Services                                          Page 9
Case 4:21-cv-00468-MWBKimberly
                        DocumentLexlaura
                                35-11 FiledBunting
                                           09/30/22 Page 11 of 41


  1          Q.     Okay.     And in what?
  2          A.     I have an MBA in business
  3   administration.
  4          Q.     When did you get that degree?
  5          A.     I graduated December 2017.
  6          Q.     Okay.     From where?
  7          A.     Texas A&M University-Commerce.
  8          Q.     What was your first job after
  9   graduating college -- getting your master's?
10    I am sorry.
11           A.     I was actually currently employed at
12    Muncy Industries when I had graduated with my
13    MBA.
14           Q.     So then when did you officially
15    start working for Muncy?
16           A.     In 2014.
17           Q.     2014?     Who hired you?
18           A.     I apologize.        I am sorry.       I got
19    hired at Muncy in 2017.            I graduated
20    December 2017.        My apologies.
21           Q.     So it was 2017 you were hired, not
22    2014?
23           A.     Correct.      I apologize.        I misspoke.
24           Q.     That's totally okay.           Who hired you



Golkow Litigation Services                                          Page 10
Case 4:21-cv-00468-MWBKimberly
                        DocumentLexlaura
                                35-11 FiledBunting
                                           09/30/22 Page 12 of 41


  1   in 2017?
  2         A.      Ophelia Fetter.
  3         Q.      Okay.     Who is she to the company?
  4         A.      She is the president and owner of
  5   Muncy Industries.
  6         Q.      Okay.     What was your position at the
  7   time of your hiring?
  8         A.      Inside sales representative.
  9         Q.      What were your job duties in this
10    position?
11          A.      As an inside sales representative,
12    it was my responsibility to report into the
13    office and answer incoming phone calls, in
14    addition to placing outgoing phone calls in
15    regards to quoting activity for our customers,
16    work on special projects deemed from our vice
17    president of sales and order entry; and
18    working with our cross-functional teams to
19    ensure successful order entry, as well as
20    shipping of orders.
21          Q.      Okay.     Did you have the authority to
22    hire and fire any employees?
23          A.      No, I did not.
24          Q.      Were you involved in decisions to



Golkow Litigation Services                                          Page 11
Case 4:21-cv-00468-MWBKimberly
                        DocumentLexlaura
                                35-11 FiledBunting
                                           09/30/22 Page 13 of 41


  1   hire and fire employees?
  2         A.      Not that I recall.
  3         Q.      Okay.     And were you an inside sales,
  4   you said, representative?
  5         A.      Yes.
  6         Q.      From January 8, 2018, until you
  7   left?
  8         A.      No.    I was promoted to an inside
  9   sales manager.
10          Q.      Okay.     What were your job duties in
11    your position as inside sales manager?
12          A.      I had two representatives that would
13    be my direct reports and I was to oversee the
14    sales department; that included quoting and
15    order entry, as well as customer escalations
16    that would take place, and also bring any
17    issues to the attention of the vice president
18    of sales.
19          Q.      When did you get that promotion?
20          A.      I do not recall a specific date.
21          Q.      And who was the vice president of
22    sales during that period?
23          A.      Jason Fetter.
24          Q.      Okay.     Once you were an inside sales



Golkow Litigation Services                                          Page 12
Case 4:21-cv-00468-MWBKimberly
                        DocumentLexlaura
                                35-11 FiledBunting
                                           09/30/22 Page 14 of 41


  1   manager, did you have authority to hire and
  2   fire anyone?
  3          A.       No, I did not.
  4          Q.       Okay.   What was your work schedule
  5   in this position?
  6          A.       You mean my hours and the days of
  7   the week that I worked?
  8          Q.       Yes.
  9          A.       It was Monday through Friday, 8:00
10    to 4:30.
11           Q.       8:00 to 4:30.      And was this every
12    day?        Did it change?
13           A.       That was what my hours were.            I did
14    often work after hours, but that was the hours
15    that -- the shift that I was required to work
16    every day.
17           Q.       Were you paid hourly or were you a
18    salary employee?
19           A.       I was a salary employee.
20           Q.       What was your salary?
21           A.       I do not recall a specific number.
22           Q.       So you worked overtime sometimes.
23                           Was that your decision or were
24    you asked to?



Golkow Litigation Services                                          Page 13
Case 4:21-cv-00468-MWBKimberly
                        DocumentLexlaura
                                35-11 FiledBunting
                                           09/30/22 Page 15 of 41


  1         A.      I do not recall.
  2         Q.      Okay.     Were you paid when you worked
  3   overtime?
  4         A.      As a salary employee, no, I wasn't
  5   compensated for my overtime time.
  6         Q.      Okay.     And you said you reported to
  7   Mr. Fetter?
  8         A.      Yes, I did.
  9         Q.      What was your relationship with
10    Mr. Fetter?
11          A.      How do you mean?
12          Q.      Did you have a good relationship?
13    Was it just strictly professional?                Did you
14    like him?
15          A.      It was strictly just professional
16    relationship.        It was a working one.           There
17    would be times where, obviously, because he
18    was traveling a majority of the time, I would
19    say about 90 percent, if not more was based on
20    the phone.
21                         So phone calls that either
22    myself or the sales staff would place into him
23    to seek approval on a variety of different
24    topics, but it was a professional



Golkow Litigation Services                                          Page 14
Case 4:21-cv-00468-MWBKimberly
                        DocumentLexlaura
                                35-11 FiledBunting
                                           09/30/22 Page 16 of 41


  1   relationship.
  2         Q.      Okay.     Did you ever have to travel
  3   for work?
  4         A.      Yes, I did.
  5         Q.      And when you traveled, was it after
  6   4:30 or before 8:00?
  7         A.      Yes.
  8         Q.      Were you paid for that travel --
  9         A.      As a salary --
10          Q.      -- time?
11          A.      As a salary employee, I took that as
12    my duties.
13          Q.      Okay.     And you are no longer with
14    Muncy, correct?
15          A.      That is correct.
16          Q.      Did you resign or were you
17    terminated?
18          A.      I resigned.
19          Q.      Why did you leave?
20          A.      I got another position with higher
21    wages and higher responsibility.
22          Q.      Okay.     So you're currently working
23    there now?
24          A.      No.    I am actually not working at



Golkow Litigation Services                                          Page 15
Case 4:21-cv-00468-MWBKimberly
                        DocumentLexlaura
                                35-11 FiledBunting
                                           09/30/22 Page 17 of 41


  1   that place any longer.
  2         Q.      Okay.     Are you currently working
  3   right now?
  4         A.      No, I am not actually.            I am not.
  5         Q.      (Inaudible)?
  6         A.      Can you restate that?
  7         Q.      Are you familiar with Ric Szabo?
  8         A.      Yes, I am familiar with him.
  9         Q.      Did you work with him?
10          A.      I did.
11          Q.      How (inaudible)?
12          A.      How often?
13          Q.      Yes.
14          A.      Once he was hired onto Muncy and was
15    traveling for the calibration team, Ric and I
16    had to work closely together in regards to
17    scheduling calibration trips, as well as I was
18    to -- what we call a cert check.                I was to
19    double-check his certification work that he
20    would be doing on site.
21                         And, also, if he had any issues
22    when he was out in the field that required
23    troubleshooting or to kind of discuss what the
24    issue was, I was his first contact.



Golkow Litigation Services                                          Page 16
Case 4:21-cv-00468-MWBKimberly
                        DocumentLexlaura
                                35-11 FiledBunting
                                           09/30/22 Page 18 of 41


  1          Q.     Okay.     Did you at any point give him
  2   assignments or was that not part of
  3   scheduling?
  4          A.     So my responsibility was to provide
  5   him with a calibration schedule, which would
  6   be a list of -- like, an itinerary, for lack a
  7   of better word, of just communicating which
  8   days he was to travel, what cities, and he
  9   also had calibration equipment.
10                         I would be advising whether
11    that calibration equipment would be arriving
12    on site or where that would be stored so he
13    understood where the equipment was for the
14    job.
15           Q.     If I am understanding correctly, it
16    was your decision where Ric or the other
17    calibration techs would be traveling, you
18    picked those assignments, or did you just --
19    sorry -- did you just send the itinerary out?
20           A.     I just sent the itinerary out.                  The
21    decisions as to where Ric Szabo would go and
22    the duration in which he would be there is
23    something that would have approval from the
24    vice president of sales.



Golkow Litigation Services                                          Page 17
Case 4:21-cv-00468-MWBKimberly
                        DocumentLexlaura
                                35-11 FiledBunting
                                           09/30/22 Page 19 of 41


  1         Q.      Okay.     So the calibration
  2   technicians had no authority to choose where
  3   they would go?        They got that assigned to them
  4   by Mr. Fetter?
  5         A.      So there would be an instance, we
  6   would have a group of customers.                We would try
  7   to consolidate them into a certain area.
  8                        Once we knew that those
  9   customers needed to be calibrated, Jason and
10    myself would be talking about what would be
11    the correct manner in which travel should go,
12    what would be the most cost effective way to
13    go.
14                         And then it was my -- once
15    Jason had provided his approval to me that
16    that trip -- that, you know, location A, B,
17    and C; and the order in which that was
18    supposed to be done; and the manner in which
19    the equipment was supposed to move -- it was
20    my responsibility to get with Ric to
21    communicate that plan that's been approved by
22    Jason.
23                         And the manner in which I did
24    that was either phone call or I would send an



Golkow Litigation Services                                          Page 18
Case 4:21-cv-00468-MWBKimberly
                        DocumentLexlaura
                                35-11 FiledBunting
                                           09/30/22 Page 20 of 41


  1   e-mail advising kind of calibrations week of.
  2   And it was Ric's responsibility to go and book
  3   his flights and hotel.            I did not have a
  4   company card.        So Ric had to go ahead and make
  5   his own travel arrangements.
  6         Q.      You said when they would go.
  7                        Does that mean when in the day
  8   or just when in the week, from site to site?
  9         A.      When in the week.          So more like days
10    of the week.        Let's say, Monday he would
11    travel this day; Tuesday, Wednesday, Thursday.
12    I organized it based on when he was to fly out
13    and I would keep it just on the day as to when
14    he was to fly back in.
15          Q.      Okay.     On a typical day, when would
16    the traveling, if you know, from job site to
17    job site take place?
18          A.      Usually, from my understanding, it
19    would be from Monday trying to fly out to
20    whatever direction and then fly back in by
21    Friday.      There were times where it did not
22    require week travel and it would be two days,
23    three days.       Sometimes it did not take a full
24    week.



Golkow Litigation Services                                          Page 19
Case 4:21-cv-00468-MWBKimberly
                        DocumentLexlaura
                                35-11 FiledBunting
                                           09/30/22 Page 21 of 41


  1                        Sometimes there were times that
  2   he -- that Ric could go ahead and drive to
  3   those locations and did not require a flight,
  4   but the majority of the time it would be
  5   focused on Monday to fly out if it required a
  6   week trip and fly back in on Friday.
  7         Q.      Okay.     Are you familiar with how
  8   long a calibration typically takes?
  9         A.      I do not recall.
10          Q.      Okay.     Do you know how much time a
11    calibration technician would spend driving
12    from job site to job site?
13          A.      I do not recall.
14          Q.      As far as you know, was Mr. Szabo
15    ever involved in the hiring or firing of
16    employees?
17          A.      I don't recall.
18          Q.      Do you know if he was involved in
19    making decisions about hiring and firing
20    employees?
21          A.      I do not recall.
22          Q.      As far as you know, did Mr. Szabo
23    supervise any other Muncy employees and direct
24    their work?



Golkow Litigation Services                                          Page 20
Case 4:21-cv-00468-MWBKimberly
                        DocumentLexlaura
                                35-11 FiledBunting
                                           09/30/22 Page 22 of 41


  1         A.      I don't recall.
  2         Q.      As far as you know, did Mr. Szabo,
  3   in his position as a calibration technician,
  4   have authority to make independent choices
  5   free from immediate direction or supervision?
  6         A.      If it involved -- when Ric was on a
  7   calibration site, he had the designation, from
  8   my understanding, that if there was something
  9   technically that could be troubleshooted on
10    site as a calibration technician, that Ric
11    would go ahead and troubleshoot in those
12    technical aspects.
13                         However, if it did involve
14    customer involvement, if it involved cost, if
15    it involved staying an extra night or if there
16    was a greater level of impact, he was required
17    to communicate that to myself and/or Jason
18    Fetter.
19          Q.      Okay.     And then did you or
20    Mr. Fetter approve it or did someone else have
21    that work?
22          A.      So mostly Ric would communicate with
23    me.    Because Muncy did not have a after-hours
24    troubleshooting staff.            So I would be the



Golkow Litigation Services                                          Page 21
Case 4:21-cv-00468-MWBKimberly
                        DocumentLexlaura
                                35-11 FiledBunting
                                           09/30/22 Page 23 of 41


  1   first contact that he would have.
  2                        I would go ahead and evaluate
  3   what concern that Ric had.             If there was a
  4   customer impact, cost impact or anything that
  5   I would consider to be a high impact, then I
  6   would communicate with Jason myself or I would
  7   communicate to Ric to contact Jason directly
  8   to explain the situation to get the designated
  9   approval.
10          Q.      Okay.     You say they didn't have an
11    after-hours line.
12                         Would he be calling you after
13    hours because of a time difference or because
14    of when the work would be done?               And I don't
15    know if -- was it a time difference issue that
16    he was calling after hours?
17          A.      Sometimes there would be.             If I
18    remember correctly, they were one hour behind
19    us or two, but there were other times, aside
20    from just a time zone difference, that he
21    would be currently actively on the job or he
22    would be traveling for a flight or there would
23    be something that would be taking place,
24    either calibration equipment not arriving or



Golkow Litigation Services                                          Page 22
Case 4:21-cv-00468-MWBKimberly
                        DocumentLexlaura
                                35-11 FiledBunting
                                           09/30/22 Page 24 of 41


  1   arriving on the site, that was not directly
  2   tied to the time difference.              It was based on
  3   the criteria of the job that needed to be
  4   done.
  5         Q.      When you were working for Muncy, did
  6   you have to send Mr. Fetter a daily update
  7   regarding what you had done that day by
  8   e-mail?
  9         A.      Usually, as an inside sales
10    representative and then an inside sales
11    manager, Jason Fetter would be calling in for
12    updates as to what were the levels for sales
13    that day, anything that he needed to be made
14    aware of.      Aside from that occurrence, there
15    was a time in February 2020, that Muncy was
16    subject to a -- kind of cyber attack, and
17    there was technology that was lost.
18                         Due to the amount of efforts it
19    took to get our data back into the system, I
20    was required to provide updates to Mr. Fetter,
21    as well as the other Fetters, as to what
22    progress that the inside sales team has made
23    on trying to have those efforts in regarding
24    getting the data.



Golkow Litigation Services                                          Page 23
Case 4:21-cv-00468-MWBKimberly
                        DocumentLexlaura
                                35-11 FiledBunting
                                           09/30/22 Page 25 of 41


  1                        So prior to that time, I did
  2   not have to send e-mail communication on a
  3   consistent basis; however, once that computer
  4   situation happened, I was required to report
  5   based on our progress and what we were doing.
  6         Q.      Okay.     Did he ask you to send him a
  7   daily or weekly goal list?             Like, things you
  8   wanted to accomplish during that day or that
  9   week?
10          A.      Not that I recall.
11          Q.      Okay.     Do you know if the
12    calibration technicians and Mr. Szabo had to
13    do that?
14          A.      I have heard of the practice being
15    done for the calibration team, as they had to
16    do both in-house and out-of-house
17    calibrations.        And, obviously, when they were
18    not traveling and they had to be in-house, I
19    had heard that there was a goal list or a task
20    list for a level of accountability, to ensure
21    that tasks were being worked on.
22          Q.      And you said that if something had
23    to do with sales, Mr. Szabo had to get
24    authority, approval for that?



Golkow Litigation Services                                          Page 24
Case 4:21-cv-00468-MWBKimberly
                        DocumentLexlaura
                                35-11 FiledBunting
                                           09/30/22 Page 26 of 41


  1         A.      In regards to a level of impact if
  2   he was on a job.         So if something had
  3   happened.      If it was on the site and it was
  4   technical, that he could go ahead and easily,
  5   you know, provide another shackle or kind of
  6   work technically on that.             He can go ahead and
  7   do that.
  8                        However, if it involved a
  9   customer or a level of cost or he missed his
10    flight or he had to -- realized the job was
11    going to take longer and he needed to stay an
12    extra day, then all of those decisions he
13    would reach out to myself as the contact.
14                         I would deem that getting ahold
15    of Jason, and Mr. Fetter would be the one who
16    would be making that decision of how to
17    proceed due to the level of cost impact to the
18    company.
19          Q.      As far as you know, were the
20    calibration technicians involved in signing up
21    new clients or contracting with anyone?
22          A.      I do know that with our calibration
23    techs, with their level of experience,
24    Mr. Szabo individually, just because he had



Golkow Litigation Services                                          Page 25
Case 4:21-cv-00468-MWBKimberly
                        DocumentLexlaura
                                35-11 FiledBunting
                                           09/30/22 Page 27 of 41


  1   worked with Joe Roberts, who was someone very
  2   known in the industry, that he was asked to
  3   communicate with customers sometimes to gain
  4   more knowledge of what Muncy has to offer.                      I
  5   will say that efforts of that was 100 percent
  6   driven by our vice president of sales.
  7         Q.      So he did that on Mr. Fetter's
  8   authority and direction?
  9         A.      Yes.
10          Q.      Okay.     I apologize for not asking
11    this before.
12                         What was his specific job
13    title?
14          A.      Mr. Szabo?
15          Q.      Yes.
16          A.      If I recall correctly, I think he
17    was just a calibration technician.
18          Q.      Do you know if being a calibration
19    technician is something that requires a
20    degree?
21          A.      Not that -- I don't recall.
22          Q.      And as far as you know, did all of
23    the Muncy calibration technicians have the
24    same level of education?



Golkow Litigation Services                                          Page 26
Case 4:21-cv-00468-MWBKimberly
                        DocumentLexlaura
                                35-11 FiledBunting
                                           09/30/22 Page 28 of 41


  1         A.      In regards to education, I do not
  2   recall.
  3         Q.      How about training --
  4         A.      I --
  5         Q.      -- on-the-job or before?
  6         A.      I will say from looking at our
  7   calibration technician staff, Ric was someone
  8   that had the most experience and he also aided
  9   with writing -- due to his experience, he
10    helped write procedures for Muncy.
11                         He was the first calibration
12    tech.      So he really provided Muncy direction
13    and aided as to the calibration techs that
14    followed after him and added to the team.                      He
15    was instrumental and crucial in that
16    development based on his knowledge and
17    experience that he brought.
18          Q.      All right.       And when he had a hand
19    in these procedures, could he implement any
20    procedure without approval from Mr. Fetter or
21    anyone else?
22          A.      No.
23                         MS. KRAMER:       Okay.     That's all
24           the questions I have.           Thank you for your



Golkow Litigation Services                                          Page 27
Case 4:21-cv-00468-MWBKimberly
                        DocumentLexlaura
                                35-11 FiledBunting
                                           09/30/22 Page 29 of 41


  1          time today.       Attorney Stapp may have
  2          some.
  3   BY MR. STAPP:
  4         Q.       Miss Bunting, can you hear me?
  5         A.       Yes, I can.
  6         Q.       Okay.    I just have a couple of
  7   things I want to make sure I understand.
  8                         You left Muncy Industries for a
  9   job that paid more money; is that correct?
10          A.       That's correct.
11          Q.       And, I think, was part of that
12    decision based on the fact you had obtained
13    your degree in the MBA program?
14          A.       Yes.
15          Q.       With regard to Mr. Szabo, is it
16    correct that when he started at Muncy
17    Industries, there really wasn't a calibration
18    program at Muncy Industries?
19          A.       That is correct.
20          Q.       And, in fact, Mr. Szabo was hired to
21    create the calibration program?
22          A.       I do not recall.
23          Q.       Okay.    Did Mr. Szabo write the
24    procedures for the calibration program at



Golkow Litigation Services                                          Page 28
Case 4:21-cv-00468-MWBKimberly
                        DocumentLexlaura
                                35-11 FiledBunting
                                           09/30/22 Page 30 of 41


  1   Muncy Industries?
  2         A.      Yes, he did; he contributed to
  3   writing them.        In regards to if there was any
  4   function teams that helped that he was able to
  5   collaborate with, I do not recall that.
  6         Q.      And Mr. Szabo was the one who
  7   actually taught other people at Muncy
  8   Industries how to do the calibration program
  9   once it was created; is that correct?
10          A.      Correct.
11          Q.      In fact, I think Mr. Szabo helped
12    Jason Fetter understand the calibration
13    program itself; is that right?
14          A.      That is correct.
15          Q.      You were asked about Mr. Szabo and
16    his prior employment at Robert's.
17                         Are you aware that there is an
18    e-mail where Mr. Szabo offered to Jason Fetter
19    to reach out to Robert's clients?
20          A.      No, I was not aware.
21          Q.      You weren't privy to that e-mail?
22          A.      No, not that I recall.
23          Q.      Okay.     If I understood your
24    testimony correctly today, is it fair to say



Golkow Litigation Services                                          Page 29
Case 4:21-cv-00468-MWBKimberly
                        DocumentLexlaura
                                35-11 FiledBunting
                                           09/30/22 Page 31 of 41


  1   that you, as the scheduling person, were
  2   trying to schedule calibration trips between
  3   Monday to Friday?
  4         A.      That was the initial goal, correct.
  5         Q.      And you were trying to keep the
  6   travel part of that included in that
  7   Monday-to-Friday time frame; is that right?
  8         A.      When it was possible, yes.
  9         Q.      And if I understood your testimony
10    correctly, you left it up to Mr. Szabo, since
11    he had the company credit card, to actually
12    schedule any kind of plane flights or trains
13    or things of that nature; is that correct?
14          A.      That is correct.         Because I did not
15    have a company card.           It was based on the
16    approval of Jason Fetter.             Ric was to go ahead
17    and execute the appropriate flights and hotel
18    arrangements necessary based on that approved
19    plan.
20          Q.      And to your knowledge was Mr. Szabo
21    allowed to travel in the 8:30 to 5 o'clock
22    time frame if he wanted to?
23          A.      Can you restate the question?
24          Q.      Sure.     Was Mr. Szabo allowed by



Golkow Litigation Services                                          Page 30
Case 4:21-cv-00468-MWBKimberly
                        DocumentLexlaura
                                35-11 FiledBunting
                                           09/30/22 Page 32 of 41


  1   Muncy Industries to travel during the
  2   8:30 a.m. to 5:00 p.m. time frame?
  3         A.      If there was a calibration that was
  4   scheduled during that time, a part of that
  5   plan, then, yes, he would be required to
  6   travel beforehand.
  7         Q.      And, of course, he would have to be
  8   able to get a flight that was available during
  9   those hours, too, I would assume; is that
10    right?
11          A.      Correct, but I will say that that --
12    it would have to be approved on the plan that
13    was approved by Jason Fetter.
14          Q.      Okay.     And at some point while you
15    were still employed, did Muncy start to hire
16    other calibration technicians?
17          A.      That is correct.
18          Q.      And did those calibration
19    technicians travel with Mr. Szabo?
20          A.      That is correct.
21          Q.      And when Mr. Szabo was on site for a
22    customer of Muncy Industries with another
23    calibration technician, was he in charge of
24    their work?



Golkow Litigation Services                                          Page 31
Case 4:21-cv-00468-MWBKimberly
                        DocumentLexlaura
                                35-11 FiledBunting
                                           09/30/22 Page 33 of 41


  1         A.      There were times, yes, where there
  2   would be another calibration tech on site and
  3   Ric would be showing the ropes, so to speak,
  4   and making sure that things were following
  5   based on these procedures that Ric had a hand
  6   in processing; that's correct.
  7         Q.      Okay.     So he was basically teaching
  8   and supervising those employees; is that
  9   correct?
10          A.      When it was on site, when they were
11    actively doing a calibration, that's correct.
12          Q.      Okay.     And my understanding from
13    your testimony is that Ric was salary when he
14    worked for Muncy Industries; is that correct?
15          A.      I was not privy, nor understood what
16    his current standing was.
17          Q.      Okay.     But when you were working for
18    Muncy Industries, you were salary; is that
19    right?
20          A.      That's correct.
21          Q.      And it sounds like from your
22    testimony here today that there were times
23    that you worked after hours; is that right?
24          A.      That is correct.



Golkow Litigation Services                                          Page 32
Case 4:21-cv-00468-MWBKimberly
                        DocumentLexlaura
                                35-11 FiledBunting
                                           09/30/22 Page 34 of 41


  1         Q.      Did you ever consider filing some
  2   type of lawsuit against Muncy Industries
  3   trying to ask for overtime?
  4         A.      No, I did not.
  5         Q.      Why didn't you think to do that?
  6         A.      As a salary employee, I took that as
  7   in my job responsibility.             Also, I will say
  8   that during my time with Muncy, Muncy has --
  9   was good to me in regards to bonuses based on
10    performance.        So I did not find it necessary
11    to -- as a salary employee, I just did what I
12    had to do to get the job done.
13          Q.      Are you aware that Mr. Szabo
14    received bonuses when he worked for Muncy
15    Industries?
16          A.      I was not privy to that information.
17          Q.      Okay.     Are you aware of -- and I
18    understand you may have been gone, but are you
19    aware that Mr. Szabo had written an e-mail to
20    other Muncy Industries' customers following
21    his departure --
22                         MS. KRAMER:       I am going to
23           object to that.         It's irrelevant.
24                         MR. STAPP:       I'm just asking if



Golkow Litigation Services                                          Page 33
Case 4:21-cv-00468-MWBKimberly
                        DocumentLexlaura
                                35-11 FiledBunting
                                           09/30/22 Page 35 of 41


  1          she was aware of it.           She may not be.
  2   BY MR. STAPP:
  3         Q.      Are you aware of an e-mail,
  4   Miss Bunting, that Mr. Szabo sent to Muncy
  5   Industries' customers indicating that he had
  6   left?
  7         A.      Not that I recall.
  8         Q.      Okay.     Are you surprised that
  9   Mr. Szabo filed a lawsuit against Muncy
10    Industries?
11          A.      I don't know how to answer that.
12          Q.      Okay.     Well, you indicated earlier
13    you were trying to find out what this case was
14    about.     This is a case about wages and
15    overtime.
16                         Are you surprised that
17    Mr. Szabo filed suit against Muncy Industries?
18          A.      I don't know how to answer that.                  I
19    am sorry.
20          Q.      That's okay.        With regard to travel
21    arrangements for Mr. Szabo, if I understand
22    your testimony correctly, he handled his own
23    travel arrangements; is that right?
24          A.      He would be responsible for booking



Golkow Litigation Services                                          Page 34
Case 4:21-cv-00468-MWBKimberly
                        DocumentLexlaura
                                35-11 FiledBunting
                                           09/30/22 Page 36 of 41


  1   the arrangements based on the plan that was
  2   approved by Jason Fetter.
  3         Q.      Okay.
  4         A.      Ric could not go out on his own
  5   and -- if we had designated a certain flight
  6   at a certain time with a certain airline on a
  7   specific day, Ric couldn't go ahead and just
  8   book another flight outside of that plan.                      It
  9   had to be based on the plan.
10                         MR. STAPP:       Okay.     I think
11           that's all the questions I have,
12           Miss Bunting.
13                         MS. KRAMER:       I just have a few
14           follow-ups on that.
15    BY MS. KRAMER:
16          Q.      Miss Bunting, did you clock in and
17    out in the morning and the afternoon when you
18    got to work and left work?
19          A.      No, I did not, not that I recall.
20          Q.      Okay.     And in your time with Muncy,
21    did you ever miss lunch?
22          A.      I apologize.        It's been a very long
23    time since I have been at that job.                 Yes, that
24    is correct.       You had to clock in for the day



Golkow Litigation Services                                          Page 35
Case 4:21-cv-00468-MWBKimberly
                        DocumentLexlaura
                                35-11 FiledBunting
                                           09/30/22 Page 37 of 41


  1   and clock out for the day.
  2         Q.      Okay.     Did you have to clock in and
  3   out when you went to lunch?
  4         A.      I do not recall.
  5         Q.      Okay.     Do you remember if in your
  6   time there you ever missed lunch, worked
  7   through lunch?
  8         A.      Yes.
  9         Q.      You did.      Okay.     Were you paid for
10    that time?
11          A.      I was a salary employee.            It was my
12    decision to work past.
13          Q.      Okay.     Then just to confirm, you had
14    your master's already when you started at
15    Muncy?
16          A.      No.    No.    I had -- I was working on
17    my master's degree when I started at Muncy,
18    but I had successfully graduated during my
19    time at Muncy, and then I had left about three
20    years after.
21          Q.      So when you were promoted to inside
22    sales manager, did you have a master's at that
23    point or if you don't remember?
24          A.      I believe that I did have my



Golkow Litigation Services                                          Page 36
Case 4:21-cv-00468-MWBKimberly
                        DocumentLexlaura
                                35-11 FiledBunting
                                           09/30/22 Page 38 of 41


  1   master's when I was promoted to the inside
  2   sales manager position.
  3                        MS. KRAMER:       That's all the
  4          questions I have.          Thank you.
  5                        MR. STAPP:       I don't have any
  6          other questions.         Thank you for your
  7          time.
  8                        (Witness was excused.)
  9                        (Deposition concluded at
10           4:00 p.m.)
11

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Golkow Litigation Services                                          Page 37
Case 4:21-cv-00468-MWBKimberly
                        DocumentLexlaura
                                35-11 FiledBunting
                                           09/30/22 Page 39 of 41


  1                    C E R T I F I C A T E
  2                 I HEREBY CERTIFY that prior to the
  3   commencement of the examination, KIMBERLY
  4   LEXLAURA BUNTING, was remotely sworn by me to
  5   testify to the truth and that the proceedings,
  6   evidence, and objections are contained fully
  7   and accurately in the stenographic notes taken
  8   by me upon the deposition taken on June 15,
  9   2022, and this is a true and correct
10    transcript of same.
11

12

13

14                  _______________________________
15                  Jessica M. Gericke, RPR, CCR-NJ,
                    and Notary Public
16

17

18                  (The foregoing certification of this
19    transcript does not apply to any reproduction
20    of the same by any means, unless under the
21    direct control and/or supervision of the
22    certifying reporter.)
23

24




Golkow Litigation Services                                          Page 38
Case 4:21-cv-00468-MWBKimberly
                        DocumentLexlaura
                                35-11 FiledBunting
                                           09/30/22 Page 40 of 41


  1                 I have read the foregoing transcript
  2   of my deposition given on June 15, 2022, and
  3   it is true, correct and complete, to the best
  4   of my knowledge, recollection and belief,
  5   except for the corrections noted hereon and/or
  6   list of corrections, if any, attached on a
  7   separate sheet herewith.
  8

  9                        _______________________________
                           Kimberly Lexlaura Bunting
10

11

12

13

14    Subscribed and sworn to
15    before me this ____ day
16    of ___________, 20__
17

18

19    _________________________
20    Notary Public
21

22

23

24




Golkow Litigation Services                                          Page 39
Case 4:21-cv-00468-MWBKimberly
                        DocumentLexlaura
                                35-11 FiledBunting
                                           09/30/22 Page 41 of 41


  1   ERRATA SHEET
  2

  3   PAGE LINE           CHANGES OR CORRECTION AND REASON
  4   ______________________________________________
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19

20    I have inspected and read my deposition as
      captioned above and have listed all changes
21    and corrections above, along with my reasons
      therefor.
22

23    DATE: _____
24    Signature of Deponent: _______________________


Golkow Litigation Services                                          Page 40
